Case 3:16-md-02738-MAS-RLS         Document 32617        Filed 06/03/24     Page 1 of 2 PageID:
                                        185115



                       IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY



  IN RE JOHNSON & JOHNSON                     Civil No. 3:16-md-2738-MAS-RLS
  TALCUM POWDER PRODUCTS
  MARKETING, SALES, PRACTICES
  AND PRODUCTS LIABILITY
  LITIGATION

  This document relates to:
  DIANA CASEY
  Case No. 3:24-CV-03376



                              AMENDED NOTICE OF FILING

        Notice is hereby given pursuant to Case Management Order No. 3 (Filing of Short Form

 Complaints) that the Amended Short Form Complaint and Jury Demand was filed on 06/01/2024

 on behalf of DIANA CASEY, Individually.


 DATED: 06/03/2024                           Respectfully submitted,

                                             By: /s/ Daniel J. Thornburgh

                                             Daniel J. Thornburgh
                                             AYLSTOCK, WITKIN,
                                             KREIS, AND OVERHOLTZ, PLLC
                                             17 East Main Street, Suite 200
                                             Pensacola, Florida 32502
                                             Telephone: 850-202-1010
                                             Fax: 850-916-7449
                                             dthornburgh@awkolaw.com

                                             Attorney for Plaintiff




                                               1
Case 3:16-md-02738-MAS-RLS             Document 32617         Filed 06/03/24     Page 2 of 2 PageID:
                                            185116


                                 CERTIFICATE OF SERVICE

        I hereby certify that on 06/03/2024, a copy of the foregoing NOTICE OF FILING was

 filed via the Court’s CM/ECF electronic filing system. Notice of this filing will be sent by

 operation of the Court’s electronic filing system to all parties indicated on the electronic filing

 receipt. Parties may access this filing through the Court’s system.


                                                 Respectfully submitted,

                                                 By: /s/ Daniel J. Thornburgh

                                                 Daniel J. Thornburgh
                                                 AYLSTOCK, WITKIN,
                                                 KREIS, AND OVERHOLTZ, PLLC
                                                 17 East Main Street, Suite 200
                                                 Pensacola, Florida 32502
                                                 Telephone: 850-202-1010
                                                 Fax: 850-916-7449
                                                 dthornburgh@awkolaw.com

                                                 Attorney for Plaintiff




                                                   2
